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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                       v.
                                                    Criminal Case No. 21-278
 ROBERT SCHORNAK AND DANIEL                         Chief Judge Beryl A. Howell
 HERENDEEN,

                       Defendants.


                       STANDING ORDER FOR CRIMINAL CASES

            READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE.
It is the responsibility of counsel and the Court “to provide for the just determination of every
criminal proceeding, to secure simplicity in procedure and fairness in administration, and to
eliminate unjustifiable expense and delay.” FED. R. CRIM. P. 2. In order to administer this case
in a manner consistent with this responsibility, it is ORDERED that the parties comply with the
following directives:

1. COMMUNICATIONS WITH CHAMBERS
   Except as authorized in this order, the parties may not contact chambers by telephone. If
   extraordinary circumstances or emergencies require it, however, counsel should contact
   chambers jointly via telephone conference call to avoid ex parte communications. Chambers
   will not provide legal advice of any kind.

2. STATUS CONFERENCES
   As early as the initial status conference, which will be scheduled within three weeks
   following the arraignment, counsel should be prepared to discuss the following issues
   relevant to the progress of the case:
   a. Whether the parties have discussed the possibility of an early resolution of the case
       without trial and, if so, the results of that discussion;
   b. Whether any period of excludable delay should be ordered under the Speedy Trial Act
       and the amount of time remaining under the Speedy Trial Act before trial must
       commence;
   c. Whether a schedule should be set concerning any matter in the case other than trial,
       including for the filing of motions by the defendant to sever, dismiss, or suppress under
       FED. R. CRIM. P. 12(b) or any other motion requiring a ruling by the Court before trial
       and date(s) for interim status conferences and/or the pre-trial conference;
   d. Whether outstanding discovery issues require resolution by the Court;
   e. Whether a trial is anticipated and, if so, its anticipated length;



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       f. Whether any features of the case may deserve special attention or modification of the
          standard schedule, including whether the defendant intends to raise a defense of insanity
          or public authority; whether the government has requested notice of alibi by the
          defendant and, if so, whether the defendant has timely responded; and
       g. Any other matters relevant to the progress or resolution of the case.

4. INTERPRETIVE SERVICES
   Counsel shall notify the Courtroom Deputy Clerk at least five days in advance of any status
   conference, motions hearing, plea or trial if the defendant or any witness will require
   interpretative services provided by the Court.

5. SEALED SUBMISSIONS
   a. Courtesy Copies. Parties must deliver a courtesy copy to chambers of any sealed
      submission on the day it is filed with the Court to avoid any delay in receiving notice of
      the sealed matter.
   b. Motions to Seal Relying on Protective Orders. Parties may not rely solely on designation
      under a protective order to file documents under seal. Even when a protective order has
      been issued in a case, the Court cannot abdicate its responsibility to determine whether
      filings should be made available to the public, applying the test articulated in United
      States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980). Before moving to file under seal
      materials subject to a protective order, the moving party must confer with the opposing
      party and provide the results of that conferral process in the motion to seal, as well as
      analysis of the relevant Hubbard factors warranting sealing, to ensure that any requested
      sealing is appropriate under Hubbard.

6. MOTIONS FOR EXTENSION OF TIME OR RESCHEDULING HEARING
   Motions for extensions of time or for continuances of Court proceedings are strongly
   discouraged. The parties should work within the time frames set by Court order.
   a. Timing and content. When good cause is present, the Court will consider a motion for an
       extension of time that is filed at least 4 business days prior to the deadline the motion is
       seeking to extend or the scheduled hearing date3; and states:
        i. the original date of the deadline the motion is seeking to extend or the scheduled
           hearing date;
       ii. the number of previous extensions of time or continuances granted to each party;
      iii. the good cause supporting the motion;
      iv. the effect that the granting of the motion will have on existing deadlines;
       v. for motions, suggested deadlines (reached in consultation with the opposing party) for
           the filing of any opposition and reply papers; for continuances, three alternative dates
           and times that are convenient to all parties; and
      vi. the opposing party’s position on the motion, including any reasons given for refusing
           to consent.
   b. Opposition. A party opposing a motion for an extension of time must file, by 5:00 PM
       the day after the motion is filed, the party’s reasons for opposing the motion. If no
       such explanation is provided to the Court within this time frame, the motion shall be
       deemed conceded.
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    In the event of an emergency, the four-day rule may be waived, but counsel must still file a motion in writing.

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7. DISCLOSURE OBLIGATIONS
   Pursuant to the Due Process Protections Act, the Court ORDERS that all government
   counsel shall review their disclosure obligations under Brady v. Maryland, 373 U.S. 83
   (1963), and its progeny, as set forth in Local Criminal Rule 5.1, and comply with those
   provisions. The failure to comply could result in dismissal of the indictment or information,
   dismissal of individual charges, exclusion of government evidence or witnesses,
   continuances, Bar discipline, or any other remedy that is just under the circumstances.

8. PLEA HEARINGS
   At least 5 business days, as defined by FED. R. CIV. P. 6(a), before the hearing, counsel must
   submit to the Court:
   a. the written plea agreement or an outline of the agreement if it has not been reduced to
       writing, and –
        i. specification of the type of agreement under FED. R. CRIM. P. 11(c); and
       ii. for any plea agreement that includes a nonbinding recommendation, under FED. R.
           CRIM. P. 11(c)(1)(B) or a binding sentencing range, under FED. R. CRIM. P.
           11(c)(1)(C), that is outside the applicable guideline range, a statement setting forth
           with specificity the justifiable reasons for a sentence that is outside the applicable
           range, see 18 U.S.C. § 3553(c); Guidelines Manual §6B1.2(b), (c);
   b. any superseding indictment or new information, if applicable;
   c. for each count to which the defendant intends to plead guilty:
        i. the elements of the offense;
       ii. the factual proffer the defendant is prepared to acknowledge;
      iii. the applicable statutory minimum (if applicable) and maximum penalty;
      iv. the estimated applicable Guideline offense level and range; and
   d. if the defendant is not a United States citizen, written notice as to whether the defendant
       will be pleading guilty to an “aggravated felony” as defined by 8 U.S.C. § 1101(a), which
       would subject the defendant to mandatory deportation.

9. JOINT PRETRIAL STATEMENT
   In order “to provide a fair and expeditious trial,” FED. R. CRIM. P. 17.1, a pretrial conference
   will be scheduled at least two weeks before the date set for trial. The parties must file with the
   Court at least 10 business days before the pretrial conference, unless a different time is set
   by the Court, a Joint Pretrial Statement that contains the contents set out below. The parties
   shall also submit an electronic copy of the Joint Pretrial Statement in Microsoft Word format,
   including attachments and exhibits thereto, by email to Howell_Chambers@dcd.uscourts.gov.
    a. written statements (i) by the government setting forth the terms of any plea offer made to
        the defendant and the date such offer was made and lapsed; and (ii) by defense counsel
        indicating (1) the dates on which the terms of any plea offer were communicated to
        defendant and rejected, see Missouri v. Frye, 132 S. Ct. 1399, 1408 (2012) (“[D]efense
        counsel has a duty to communicate formal offers from the prosecution to accept a plea on
        terms and conditions that may be favorable to the accused.”), and (2) the potential
        sentencing exposure communicated by the defense counsel to defendant and the date on
        which such communication occurred, see United States v. Rashad, 331 F.3d 908, 912
        (D.C. Cir. 2003);

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   b. a one-paragraph joint statement of the case for the Court to read to prospective jurors;
   c. proposed voir dire questions that include:
       i. the voir dire questions on which the parties agree; and
      ii. the voir dire questions on which the parties disagree, with specific objections noted
           below each disputed question and supporting legal authority (if any);
   d. the text of proposed jury instructions, which are formatted so that each instruction begins
      on a new page, and indicate:
       i. the instructions to which the parties agree;
      ii. the instructions to which the parties disagree, with specific objections noted below
           each disputed instruction and supporting legal authority (if any); and the proposed
           instruction’s source (e.g., the Red Book, Matthew Bender’s Federal Jury Instructions)
           or, for modified or new instructions, its supporting legal authority (e.g., United States
           v. Taylor, 997 F.2d 1551, 1555-6 (D.C. Cir. 1993));
   e. a list of expert witnesses, accompanied by a brief description of each witness’ area of
      expertise and expected testimony, followed by specific objections (if any) to each
      witness;
   f. a list of any motions in limine to address issues the parties reasonably anticipate will arise
      at trial (see infra ¶ 9 regarding timing of filing motions in limine);
   g. a list of prior convictions that the government intends to use for impeachment or any
      other purpose, followed by specific objections (if any) to that use;
   h. a list of exhibits that the government intends to offer during trial, with a brief description
      of each exhibit;
   i. any stipulations executed or anticipated to be executed; and
   j. a proposed verdict form that includes a date and signature line for the jury foreperson, as
      well as proposed special interrogatories (if any).

10. MOTIONS IN LIMINE
    a. Timing. Motions in limine shall be fully briefed at the time of the pretrial conference.
       Accordingly, the moving party’s motion in limine and supporting memorandum shall be
       filed and served upon the opposing party no later than the date of filing the Joint Pretrial
       Statement. The opposition shall be filed and served upon the moving party within 5 days
       of service of the motion in limine. Any reply shall be due within 2 days of service of the
       opposition.
    b. Oral Argument. Oral argument on motions in limine, if necessary, shall occur at the
       Pretrial Conference.
    c. Tardy Motions. The Court will entertain late motions for which there is a compelling
       explanation if filed at least 8 days prior to the date set for jury selection. Oppositions to
       late motions must be filed at least 5 days prior to jury selection, and replies must be filed
       at least 4 days prior to jury selection.

11. RECORDINGS
    If there are recordings to be used in this case, counsel for both sides shall resolve any
    disputes between any alleged inaccuracy of the transcripts and the recordings. If it proves
    impossible for counsel to resolve the dispute, they shall so advise the Court at least four days
    before trial so that the dispute may be resolved without causing any delay in the trial and
    concomitant inconvenience to the jury.


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12. TRIAL PROCEDURES
    a. Pretrial Order. Following the final pretrial conference and before the trial, the Court will
       issue a final trial order that sets out the schedule and other general courtroom rules.
    b. Jurors. The names and personal information of prospective and sitting jurors in any trial
       of this matter shall be kept confidential and not disclosed outside of open court, except
       upon order of the Court. See, D.D.C. JURY SELECTION PLAN, § K.1, available at
       https://www.dcd.uscourts.gov/sites/dcd/files/JurySelectionPlanReviewed2015.pdf.
       Counsel and parties are cautioned that violation of this directive may result in contempt
       proceedings.

13. SENTENCING HEARING
    a. Timing. Sentencing will generally be scheduled approximately ninety days after entry of
       the plea or conviction.
    b. Presentence Report. The probation officer assigned to the case shall disclose the draft
       pre-sentence investigation report to the parties within 45 days after referral. The parties
       must submit objections (if any) in writing to the probation officer and opposing party
       within 14 days of that disclosure. FED. R. CRIM. P. 32(f). The probation officer shall
       disclose to the parties and file with the Court the final pre-sentence investigation report,
       noting any unresolved objections, within 10 days of the submission of objections. In
       addition to the presentence investigation report, the probation officer’s sentencing
       recommendation submitted to the Court is available for review by the parties.
    c. Sentencing Memoranda. Any memorandum in aid of sentencing must be submitted at
       least 10 business days before the date of the sentencing, with responses (if any)
       submitted at least 7 business days before the date of the sentencing. These memoranda
       and any responses thereto must cite to supporting legal or other authority on which the
       parties intend to rely. In addition, a party wishing to present witnesses at the sentencing
       hearing must submit with the memorandum, a witness list that identifies the relationship,
       if any, of each witness to the defendant and a brief summary of the purpose or subject
       matter of the testimony.
    d. Letters. Letters from family members, friends or work associates that the defendant
       wishes the Court to consider in connection with sentencing should not be sent directly to
       chambers but should be attached to the sentencing memorandum submitted by counsel.

SO ORDERED.


DATED: April 6, 2021



                                                             __________________
                                                             BERYL A. HOWELL
                                                             Chief Judge




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